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4                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
5                                    AT SEATTLE
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7     SECURITIES AND EXCHANGE
      COMMISSION,
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                                    Plaintiff(s),   CASE NO.
9                         v.                        2:22−cv−01009−TLF
10
      ISHAN WAHI et al.,
11
12                               Defendant(s).

13         IT IS ORDERED that:
14         1. DISCOVERY. All discovery matters should be resolved by agreement if
15   possible. If a ruling is needed on any discovery question, and counsel wish to avoid
16   the time and expense of a written motion, they may obtain an expedited ruling through
17   a telephone conference call to the court at 253−882−3890.
18         2. DEPOSITIONS. Depositions will be conducted in compliance with the
19   following rules:
20              (a) Examination. If there are multiple parties, each side should ordinarily
21         designate one attorney to conduct the main examination of the deponent, and any
22         questioning by other counsel on that side should be limited to matters not
23         previously covered.
24              (b) Objections. The only objections that should be raised at the deposition
25         are those involving a privilege against disclosure, or some matter that may be
26         remedied if presented at the time (such as the form of the question or the

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1          responsiveness of the answer), or that the question seeks information beyond
2          the scope of discovery. Objections on other grounds are unnecessary and should
3          be avoided. All objections should be concise and must not suggest answers to,
4          or otherwise coach, the deponent. Argumentative interruptions will not be
5          permitted.
6               (c) Directions Not to Answer. Directions to the deponent not to answer
7          are improper. Advice not to answer may be appropriate on the ground of privilege
8          or to enable a party or deponent to present a motion to the court or special master
9          for termination of the deposition on the ground that it is being conducted in bad
10         faith or in such a manner as unreasonably to annoy, embarrass or oppress the party
11         or the deponent, or for appropriate limitations upon the scope of the deposition
12         (e.g., on the ground that the line or inquiry is not relevant nor reasonably calculated
13         to lead to the discovery of admissible evidence). When a privilege is claimed,
14         the witness should nevertheless answer questions relevant to the existence, extent
15         or waiver of the privilege, such as the date of the communication, who made the
16         statement in question, to whom in whose presence the statement was made,
17         other persons to whom the contents of the statement have been disclosed, and the
18         general subject matter of the statement.
19              (d)     Responsiveness. Witnesses will be expected to answer all questions
20         directly and without evasion, to the extent of their testimonial knowledge, unless
21         they choose to follow the advice of counsel not to answer.
22              (e) Private Consultation. Private conferences between deponents
23         and their attorneys during the actual taking of the deposition are improper, except
24         for the purpose of determining whether a privilege should be asserted. Unless
25         prohibited by the court for good cause shown, such conferences may, however, be
26         held during normal recesses and adjournments.

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1                (f) Conduct of Examining Counsel. Examining counsel will refrain from
2          asking questions he or she knows to be beyond the legitimate scope of discovery,
3          and from undue repetition.
4                (g) Courtroom Standard. All counsel and parties should conduct
5          themselves in depositions with the same courtesy and respect for the rules that are
6          required in the courtroom during trial.
7          3. RESPONSIBILITY OF PLAINTIFF'S COUNSEL. This order is issued at
8    the outset of the case, and a copy is delivered by the clerk to counsel for plaintff.
9    Plaintiff's counsel (or plaintiff, if pro se is directed to deliver a copy of this order to
10   each other party within ten (10) days after receiving notice of that party's appearance..
11
12         DATED: August 2, 2022
13
14         The foregoing Minute Order authorized by THE HONORABLE THERESA L.
15   FRICKE, UNITED STATES MAGISTRATE JUDGE.
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